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                6
                                                  UNITED STATES DISTRICT COURT
                7
                                                             DISTRICT OF ARIZONA
                8
                9     Peter Salas,
                                                                       No.
              10                                Plaintiff,
              11      vs.                                              VERIFIED COMPLAINT
              12
                      Quik Pik LLC, an Arizona Limited
              13      Liability Company; 5-D Leasing, LLC,
                      an Arizona Limited Liability Company;
              14      All Over Towing Incorporated, an
                      Arizona Corporation; Thomas J.
              15      DiMarco, Sr. and Jane Doe DiMarco, a
                      married couple; Dawn DiMarco and
              16      John Doe DiMarco; a married couple;
                      and Joseph DiMarco Sr. and Jane Doe
              17      DiMarco II,
              18                                Defendants.
              19
              20
                             Plaintiff, Peter Salas (“Plaintiff” or “Peter Salas”), sues the Defendants Quik Pik
              21
                    LLC; 5-D Leasing, LLC; All Over Towing Incorporated; Thomas J. DiMarco Sr. and
              22
              23    Jane Doe DiMarco; Dawn DiMarco and John Doe DiMarco; and Joseph DiMarco Sr. and
              24    Jane Doe DiMarco II (“Defendants”) and alleges as follows:
              25
                                                      PRELIMINARY STATEMENT
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                             1.      This is an action for unpaid minimum wages, unpaid overtime wages,
                1
                2   liquidated damages, attorneys’ fees, costs, and interest under the Fair Labor Standards
                3   Act (“FLSA”), 29 U.S.C. § 201, et seq.; unpaid minimum wage under the Arizona
                4
                    Minimum Wage Act (“AMWA”), Arizona Revised Statutes (“A.R.S.”) Title 23, Chapter
                5
                    2, Article 8; and unpaid wages under the Arizona Wage Act (“AWA”), A.R.S. Title 23,
                6
                7   Chapter 2, Article 7.
                8            2.      The FLSA was enacted “to protect all covered workers from substandard
                9
                    wages and oppressive working hours.” Barrentine v. Ark Best Freight Sys. Inc., 450 U.S.
              10
                    728, 739 (1981). Under the FLSA, employers must pay all non-exempt employees a
              11
              12    minimum wage of pay for all time spent working during their regular 40-hour

              13    workweeks. See 29 U.S.C. § 206(a). Under the FLSA, employers must pay all non-
              14
                    exempt employees one and one-half their regular rate of pay for all hours worked in
              15
                    excess of 40 hours in a workweek. See 29 U.S.C § 207.
              16
              17             3.      The AMWA, A.R.S § 23-363, et seq., establishes a minimum wage within

              18    the State of Arizona.
              19
                                                      JURISDICTION AND VENUE
              20
                             4.      This Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1331 and
              21
              22    29 U.S.C. § 201, et seq. because this civil action arises under the Constitution and law of

              23    the United States. This Court also has subject matter jurisdiction pursuant 28 U.S.C. §
              24
                    1367 because the state law claims asserted herein are so related to claims in this action
              25
                    over which this Court has subject matter jurisdiction that they form part of the same case
              26
              27    or controversy under Article III of the United States Constitution.

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                             5.      Venue is proper in this district pursuant to 28 U.S.C. § 1391(b)(ii) because
                1
                2   acts giving rise to the claims of Plaintiff occurred within the District of Arizona, and
                3   Defendants regularly conduct business in and have engaged in the wrongful conduct
                4
                    alleged herein – and, thus, are subject to personal jurisdiction in – this judicial district.
                5
                                                                PARTIES
                6
                7            6.      At all times material to the matters alleged in this Complaint, Plaintiff was
                8   an individual residing in Maricopa County, Arizona, and is a former employee of
                9
                    Defendants.
              10
                             7.      At all material times, Quik Pik LLC was a limited liability company duly
              11
              12    licensed to transact business in the State of Arizona. At all material times, Defendant

              13    Quik Pik LLC does business, has offices, and/or maintains agents for the transaction of
              14
                    its customary business in Maricopa County, Arizona.
              15
                             8.      At all relevant times, Defendant Quik Pik LLC owned and operated as
              16
              17    “Quick Pik All Over Towing,” a vehicle towing and repossession company located at

              18    1966 E. Deer Valley Road, Phoenix, AZ 85024.
              19
                             9.      Under the FLSA, Defendant Quik Pik LLC is an employer. The FLSA
              20
                    defines “employer” as any person who acts directly or indirectly in the interest of an
              21
              22    employer in relation to an employee. At all relevant times, Defendant Quik Pik LLC had

              23    the authority to hire and fire employees, supervised and controlled work schedules or the
              24
                    conditions of employment, determined the rate and method of payment, and maintained
              25
                    employment records in connection with Plaintiff’s employment with Defendants. As a
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                    person who acted in the interest of Quik Pik LLC in relation to the company’s employees,
                1
                2   Defendant Quik Pik LLC is subject to liability under the FLSA.
                3            10.     At all material times, 5-D Leasing LLC was a limited liability company
                4
                    duly licensed to transact business in the State of Arizona. At all material times,
                5
                    Defendant 5-D Leasing LLC does business, has offices, and/or maintains agents for the
                6
                7   transaction of its customary business in Maricopa County, Arizona.
                8            11.     At all relevant times, Defendant 5-D Leasing LLC owned and operated as
                9
                    “Quick Pik All Over Towing,” a vehicle towing and repossession company located at
              10
                    1966 E. Deer Valley Road, Phoenix, AZ 85024.
              11
              12             12.     Under the FLSA, Defendant 5-D Leasing LLC is an employer. The FLSA

              13    defines “employer” as any person who acts directly or indirectly in the interest of an
              14
                    employer in relation to an employee. At all relevant times, Defendant 5-D Leasing LLC
              15
                    had the authority to hire and fire employees, supervised and controlled work schedules or
              16
              17    the conditions of employment, determined the rate and method of payment, and

              18    maintained employment records in connection with Plaintiff’s employment with
              19
                    Defendants. As a person who acted in the interest of 5-D Leasing LLC in relation to the
              20
                    company’s employees, Defendant 5-D Leasing LLC is subject to liability under the
              21
              22    FLSA.

              23             13.     At all material times, All Over Towing Incorporated was a corporation duly
              24
                    licensed to transact business in the State of Arizona. At all material times, Defendant All
              25
                    Over Towing Incorporated does business, has offices, and/or maintains agents for the
              26
              27    transaction of its customary business in Maricopa County, Arizona.

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                             14.     At all relevant times, Defendant All Over Towing Incorporated owned and
                1
                2   operated as “Quick Pik All Over Towing,” a vehicle towing and repossession company
                3   located at 1966 E. Deer Valley Road, Phoenix, AZ 85024.
                4
                             15.     Under the FLSA, Defendant All Over Towing Incorporated is an employer.
                5
                    The FLSA defines “employer” as any person who acts directly or indirectly in the interest
                6
                7   of an employer in relation to an employee. At all relevant times, Defendant All Over
                8   Towing Incorporated had the authority to hire and fire employees, supervised and
                9
                    controlled work schedules or the conditions of employment, determined the rate and
              10
                    method of payment, and maintained employment records in connection with Plaintiff’s
              11
              12    employment with Defendants. As a person who acted in the interest of All Over Towing

              13    Incorporated in relation to the company’s employees, Defendant All Over Towing
              14
                    Incorporated is subject to liability under the FLSA.
              15
                             16.     Defendants Thomas J. DiMarco Sr. and Jane Doe DiMarco are, upon
              16
              17    information and belief, husband and wife. They have caused events to take place giving

              18    rise to the claims in this Complaint as to which their marital community is fully liable.
              19
                    Thomas J. DiMarco Sr. and Jane Doe DiMarco are owners of Quik Pik LLC, 5-D Leasing
              20
                    LLC, and All Over Towing Incorporated and were at all relevant times Plaintiff’s
              21
              22    employers as defined by the FLSA, 29 U.S.C. § 203(d).

              23             17.     Under the FLSA, Defendants Thomas J. DiMarco Sr. and Jane Doe
              24
                    DiMarco are employers. The FLSA defines “employer” as any person who acts directly
              25
                    or indirectly in the interest of an employer in relation to an employee. At all relevant
              26
              27    times, Defendants Thomas J. DiMarco Sr. and Jane Doe DiMarco had the authority to

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                    hire and fire employees, supervised and controlled work schedules or the conditions of
                1
                2   employment, determined the rate and method of payment, and maintained employment
                3   records in connection with Plaintiff’s employment with Defendants. As persons who
                4
                    acted in the interest of Quik Pik LLC, 5-D Leasing LLC, and All Over Towing
                5
                    Incorporated in relation to the company’s employees, Defendants Thomas J. DiMarco Sr.
                6
                7   and Jane Doe DiMarco are subject to individual liability under the FLSA.
                8            18.     Defendants Dawn DiMarco and John Doe DiMarco are, upon information
                9
                    and belief, husband and wife. They have caused events to take place giving rise to the
              10
                    claims in this Complaint as to which their marital community is fully liable. Dawn
              11
              12    DiMarco and John Doe DiMarco are owners of Quik Pik LLC, 5-D Leasing LLC, and All

              13    Over Towing Incorporated and were at all relevant times Plaintiff’s employers as defined
              14
                    by the FLSA, 29 U.S.C. § 203(d).
              15
                             19.     Under the FLSA, Defendants Dawn DiMarco and John Doe DiMarco are
              16
              17    employers. The FLSA defines “employer” as any person who acts directly or indirectly

              18    in the interest of an employer in relation to an employee. At all relevant times,
              19
                    Defendants Dawn DiMarco and John Doe DiMarco had the authority to hire and fire
              20
                    employees, supervised and controlled work schedules or the conditions of employment,
              21
              22    determined the rate and method of payment, and maintained employment records in

              23    connection with Plaintiff’s employment with Defendants. As persons who acted in the
              24
                    interest of Quik Pik LLC, 5-D Leasing LLC, and All Over Towing Incorporated in
              25
                    relation to the company’s employees, Defendants Dawn DiMarco and John Doe DiMarco
              26
              27    are subject to individual liability under the FLSA.

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                             20.     Defendants Joseph DiMarco and Jane Doe DiMarco II are, upon
                1
                2   information and belief, husband and wife. They have caused events to take place giving
                3   rise to the claims in this Complaint as to which their marital community is fully liable.
                4
                    Joseph DiMarco and Jane Doe DiMarco II are owners of Quik Pik LLC, 5-D Leasing
                5
                    LLC, and All Over Towing Incorporated and were at all relevant times Plaintiff’s
                6
                7   employers as defined by the FLSA, 29 U.S.C. § 203(d).
                8            21.     Under the FLSA, Defendants Joseph DiMarco and Jane Doe DiMarco II are
                9
                    employers. The FLSA defines “employer” as any person who acts directly or indirectly
              10
                    in the interest of an employer in relation to an employee. At all relevant times,
              11
              12    Defendants Joseph DiMarco and Jane Doe DiMarco II had the authority to hire and fire

              13    employees, supervised and controlled work schedules or the conditions of employment,
              14
                    determined the rate and method of payment, and maintained employment records in
              15
                    connection with Plaintiff’s employment with Defendants. As persons who acted in the
              16
              17    interest of Quik Pik LLC, 5-D Leasing LLC, and All Over Towing Incorporated in

              18    relation to the company’s employees, Defendants Joseph DiMarco and Jane Doe
              19
                    DiMarco II are subject to individual liability under the FLSA.
              20
                             22.     Plaintiff is further informed, believes, and therefore alleges that each of the
              21
              22    Defendants herein gave consent to, ratified, and authorized the acts of all other

              23    Defendants, as alleged herein.
              24
                             23.     Defendants, and each of them, are sued in both their individual and
              25
                    corporate capacities.
              26
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                             24.     Defendants are jointly and severally liable for the injuries and damages
                1
                2   sustained by Plaintiff.
                3            25.     At all relevant times, Plaintiff was an “employee” of Defendants Quik Pik
                4
                    LLC, 5-D Leasing LLC, All Over Towing Incorporated, Thomas J. DiMarco Sr. and Jane
                5
                    Doe DiMarco, Dawn DiMarco and John Doe DiMarco, and Joseph DiMarco Sr. and Jane
                6
                7   Doe DiMarco II as defined by the FLSA, 29 U.S.C. § 201, et seq.
                8            26.     The provisions set forth in the FLSA, 29 U.S.C. § 201, et seq., apply to
                9
                    Defendants Quik Pik LLC, 5-D Leasing LLC, All Over Towing Incorporated, Thomas J.
              10
                    DiMarco Sr. and Jane Doe DiMarco, Dawn DiMarco and John Doe DiMarco, and Joseph
              11
              12    DiMarco Sr. and Jane Doe DiMarco II.

              13             27.     At all relevant times, Defendants Quik Pik LLC, 5-D Leasing LLC, All
              14
                    Over Towing Incorporated, Thomas J. DiMarco Sr. and Jane Doe DiMarco, Dawn
              15
                    DiMarco and John Doe DiMarco, and Joseph DiMarco Sr. and Jane Doe DiMarco II were
              16
              17    and continue to be “employers” as defined by the FLSA, 29 U.S.C. § 201, et seq.

              18             28.     The provisions set forth in the A.R.S. Title 23, Articles 7 and 8 apply to
              19
                    Defendants Quik Pik LLC, 5-D Leasing LLC, All Over Towing Incorporated, Thomas J.
              20
                    DiMarco Sr. and Jane Doe DiMarco, Dawn DiMarco and John Doe DiMarco, and Joseph
              21
              22    DiMarco Sr. and Jane Doe DiMarco II.

              23             29.     At all relevant times, Plaintiff was an “employee” of Defendants Quik Pik
              24
                    LLC, 5-D Leasing LLC, All Over Towing Incorporated, Thomas J. DiMarco Sr. and Jane
              25
                    Doe DiMarco, Dawn DiMarco and John Doe DiMarco, and Joseph DiMarco Sr. and Jane
              26
              27    Doe DiMarco II as defined by A.R.S. § 23-362.

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                             30.     At all relevant times, Defendants Quik Pik LLC, 5-D Leasing LLC, All
                1
                2   Over Towing Incorporated, Thomas J. DiMarco Sr. and Jane Doe DiMarco, Dawn
                3   DiMarco and John Doe DiMarco, and Joseph DiMarco Sr. and Jane Doe DiMarco II were
                4
                    and continue to be “employers” of Plaintiff as defined by A.R.S. § 23-362.
                5
                             31.     Defendants individually and/or through an enterprise or agent, directed and
                6
                7   exercised control over Plaintiff’s work and wages at all relevant times.
                8            32.     Plaintiff, in his work for Defendants, was employed by an enterprise
                9
                    engaged in commerce that had annual gross sales of at least $500,000.
              10
                             33.     At all relevant times, Plaintiff, in his work for Defendants, was engaged in
              11
              12    commerce or the production of goods for commerce.

              13             34.     At all relevant times, Plaintiff, in his work for Defendants, was engaged in
              14
                    interstate commerce.
              15
                             35.     Plaintiff, in his work for Defendant, regularly handled goods produced or
              16
              17    transported in interstate commerce.

              18                                        FACTUAL ALLEGATIONS
              19
                             36.     Defendants own and/or operate as Quick Pik All Over Towing, an
              20
                    enterprise located in Maricopa County, Arizona.
              21
              22             37.     All Over Towing Incorporated is a vehicle towing and repossession

              23    company located in Phoenix, Arizona.
              24
                             38.     Plaintiff began working for Defendants in approximately July 2020 when
              25
                    Defendants purchased the towing company he had previously worked for, Shamrock
              26
              27    Towing.

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                             39.     In or around July 2020, when Defendants became Plaintiff’s employer, they
                1
                2   changed his pay rate from hourly to commission based.
                3            40.     Pursuant to Plaintiff’s pay structure, Plaintiff was paid based solely on
                4
                    commissions, regardless of the number of hours Plaintiff worked for Defendants in a
                5
                    given workweek.
                6
                7            41.     At all relevant times, Plaintiff worked for Defendants until approximately
                8   November 2020.
                9
                             42.     At all relevant times, in his work for Defendants, Plaintiff worked as a tow-
              10
                    truck driver for Defendants.
              11
              12             43.     In his work for Defendants, Plaintiff performed non-exempt manual,

              13    unskilled labor, all of which was related to vehicle towing and repossession. Such work
              14
                    included, but was not limited to, towing vehicles to and from Defendants’ holding
              15
                    facility, shops, customers’ homes, or body shops.
              16
              17             44.     Defendants, in their sole discretion, paid Plaintiff on a commission

              18    structure.
              19
                             45.     At all relevant times, Plaintiff typically worked between 64 and 70 hours
              20
                    per week for Defendants.
              21
              22             46.     As a result of Plaintiff’s commission-based pay structure, in a given

              23    workweek, Plaintiff did not receive the applicable minimum wage for every hour he
              24
                    worked for Defendants.
              25
                             47.     As such, Defendants failed to pay the applicable minimum wage to
              26
              27    Plaintiff.

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                             48.     As a result of Defendants’ willful failure to compensate Plaintiff the
                1
                2   applicable minimum wage for work he performed for Defendants, Defendants violated 29
                3   U.S.C. § 206(a).
                4
                             49.     As a result of Defendants’ willful failure to compensate Plaintiff the
                5
                    applicable minimum wage for work he performed for Defendants, Defendant violated the
                6
                7   AMWA, A.R.S. § 23-363.
                8            50.     As a result of Plaintiff’s commission-based pay structure, in a given
                9
                    workweek, Plaintiff did not receive one and one-half times the applicable overtime rate
              10
                    for time he worked in excess of 40 hours in a given workweek.
              11
              12             51.     As such, Defendants failed to pay the applicable overtime rate to Plaintiff

              13    for time worked in excess of 40 hours in a given workweek.
              14
                             52.     As a result of Defendants’ willful failure to compensate Plaintiff the
              15
                    applicable overtime rate for such work he performed for Defendants, Defendants violated
              16
              17    29 U.S.C. § 207(a).

              18             53.     Plaintiff was a non-exempt employee.
              19
                             54.     Defendants knew that – or acted with reckless disregard as to whether –
              20
                    their refusal or failure to properly compensate Plaintiff during the course of his
              21
              22    employment would violate federal and state law, and Defendants were aware of the

              23    FLSA minimum wage and overtime requirements during Plaintiff’s employment. As
              24
                    such, Defendants’ conduct constitutes a willful violation of the FLSA and the AMWA.
              25
                             55.     Defendants refused and/or failed to properly disclose to or apprise Plaintiff
              26
              27    of his rights under the FLSA.

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                             56.     Plaintiff is a covered employee within the meaning of the FLSA.
                1
                2            57.     Defendants individually and/or through an enterprise or agent, directed and
                3   exercised control over Plaintiff’s work and wages at all relevant times.
                4
                             58.     Due to Defendants’ illegal wage practices, Plaintiff is entitled to recover
                5
                    from Defendants compensation for unpaid minimum and overtime wages, an additional
                6
                7   amount equal amount as liquidated damages, interest, and reasonable attorney’s fees and
                8   costs of this action under 29 U.S.C. § 216(b).
                9
                             59.     Due to Defendants’ illegal wage practices, Plaintiff is entitled to recover
              10
                    from Defendants compensation for unpaid wages, an additional amount equal to twice the
              11
              12    unpaid minimum wages as liquidated damages, interest, and reasonable attorney’s fees

              13    and costs of this action under A.R.S § 23-363.
              14
                                          COUNT ONE: FAIR LABOR STANDARDS ACT
              15                             FAILURE TO PAY MINIMUM WAGE
              16
                             60.     Plaintiff realleges and incorporates by reference all allegations in all
              17
                    preceding paragraphs.
              18
              19             61.     Defendants willfully and improperly failed to pay at least the applicable

              20    minimum wage to Plaintiff for all hours he worked for them.
              21             62.     Defendants’ practice of willfully and improperly failing to pay Plaintiff the
              22
                    applicable minimum wage for all hours worked violated 29 U.S.C. § 206(a).
              23
              24             63.     Plaintiff is therefore entitled to compensation for the full applicable

              25    minimum wage at an hourly rate, to be proven at trial, plus an additional equal amount as
              26    liquidated damages, together with interest, reasonable attorney’s fees, and costs.
              27
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                             WHEREFORE, Plaintiff, Peter Salas, respectfully requests that this Court grant
                1
                2   the following relief in Plaintiff’s favor, and against Defendants:
                3            A.          For the Court to declare and find that the Defendant committed one of more
                4
                                         of the following acts:
                5
                                    i.          Violated minimum wage provisions of the FLSA, 29 U.S.C. §
                6
                7                               206(a), by failing to pay proper minimum wages;
                8                  ii.          Willfully violated minimum wage provisions of the FLSA, 29
                9
                                                U.S.C. § 206(a) by willfully failing to pay proper minimum wages;
              10
                             B.          For the Court to award Plaintiff’s unpaid minimum wage damages, to be
              11
              12                         determined at trial;

              13             C.          For the Court to award compensatory damages, including liquidated
              14
                                         damages pursuant to 29 U.S.C. § 216(b), to be determined at trial;
              15
                             D.          For the Court to award prejudgment and post-judgment interest;
              16
              17             E.          For the Court to award Plaintiff reasonable attorneys’ fees and costs of the

              18                         action pursuant to 29 U.S.C. § 216(b) and all other causes of action set
              19
                                         forth herein;
              20
                             F.          Such other relief as this Court shall deem just and proper.
              21
              22                             COUNT TWO: FAIR LABOR STANDARDS ACT
                                                   FAILURE TO PAY OVERTIME
              23
              24             64.         Plaintiff realleges and incorporates by reference all allegations in all

              25    preceding paragraphs.
              26
              27
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                             65.         Defendants willfully and improperly failed to pay one and one-half times
                1
                2   Plaintiff’s regular rate of pay to Plaintiff for all times he worked for them in excess of 40
                3   hours in a given workweek.
                4
                             66.         As a result, Defendants failed to pay the applicable overtime rate to
                5
                    Plaintiff for all times he worked for them in excess of 40 hours in a given workweek.
                6
                7            67.         Defendants’ practice of willfully and improperly failing to pay Plaintiff the
                8   applicable overtime rate for such hours worked violated 29 U.S.C. § 207(a).
                9
                             68.         Plaintiff is therefore entitled to compensation for his full applicable
              10
                    overtime rate at an hourly rate, to be proven at trial, plus an additional equal amount as
              11
              12    liquidated damages, together with interest, reasonable attorney’s fees, and costs.

              13             WHEREFORE, Plaintiff, Peter Salas, respectfully requests that this Court grant
              14
                    the following relief in Plaintiff’s favor, and against Defendants:
              15
                             G.          For the Court to declare and find that the Defendant committed one of more
              16
              17                         of the following acts:

              18                    i.          Violated the overtime provisions of the FLSA, 29 U.S.C. § 207(a),
              19
                                                by failing to pay proper overtime;
              20
                                   ii.          Willfully violated overtime provisions of the FLSA, 29 U.S.C. §
              21
              22                                207(a) by willfully failing to pay proper overtime;

              23             H.          For the Court to award Plaintiff’s unpaid overtime wage damages, to be
              24
                                         determined at trial;
              25
                             I.          For the Court to award compensatory damages, including liquidated
              26
              27                         damages pursuant to 29 U.S.C. § 216(b), to be determined at trial;

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                             J.      For the Court to award prejudgment and post-judgment interest;
                1
                2            K.      For the Court to award Plaintiff reasonable attorneys’ fees and costs of the
                3                    action pursuant to 29 U.S.C. § 216(b) and all other causes of action set
                4
                                     forth herein;
                5
                             L.      Such other relief as this Court shall deem just and proper.
                6
                7                      COUNT THREE: ARIZONA MINIMUM WAGE ACT
                                           FAILURE TO PAY MINIMUM WAGE
                8
                9            69.     Plaintiff realleges and incorporates by reference all allegations in all

              10    preceding paragraphs.
              11
                             70.     Defendants willfully and improperly failed to pay at least the applicable
              12
                    minimum wage to Plaintiff for all hours he worked for them.
              13
              14             71.     Defendants’ practice of willfully and improperly failing to pay Plaintiff the

              15    applicable minimum wage for all hours worked violated AMWA, A.R.S. § 23-363.
              16
                             72.     Plaintiff is therefore entitled to compensation for the full applicable
              17
                    minimum wage at an hourly rate, to be proven at trial, plus an additional amount equal to
              18
              19    twice the unpaid wages as liquidated damages, together with interest, reasonable

              20    attorney’s fees, and costs.
              21             WHEREFORE, Plaintiff, Peter Salas, respectfully requests that this Court grant
              22
                    the following relief in Plaintiff’s favor, and against Defendants:
              23
              24             A.      For the Court to declare and find that the Defendants committed one of

              25                     more of the following acts:
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                                    i.          Violated minimum wage provisions of the AMWA, A.R.S. § 23-
                1
                2                               363, by failing to pay proper minimum wages;
                3                  ii.          Willfully violated minimum wage provisions of the AMWA, A.R.S.
                4
                                                § 23-363 by willfully failing to pay proper minimum wages;
                5
                             B.          For the Court to award Plaintiff’s unpaid minimum wage damages, to be
                6
                7                        determined at trial;
                8            C.          For the Court to award compensatory damages, including liquidated
                9
                                         damages pursuant to A.R.S. § 23-364, to be determined at trial;
              10
                             D.          For the Court to award prejudgment and post-judgment interest;
              11
              12             E.          For the Court to award Plaintiff reasonable attorneys’ fees and costs of the

              13                         action pursuant to A.R.S. § 23-364 and all other causes of action set forth
              14
                                         herein;
              15
                             F.          Such other relief as this Court shall deem just and proper.
              16
              17                                             JURY TRIAL DEMAND

              18             Plaintiff hereby demands a trial by jury on all issues so triable.
              19
                             RESPECTFULLY SUBMITTED this 12th day of February, 2021.
              20
              21
                                                                             BENDAU & BENDAU PLLC
              22
                                                                             By: /s/ Christopher J. Bendau
              23                                                             Clifford P. Bendau, II
              24                                                             Christopher J. Bendau
                                                                             Attorneys for Plaintiff
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                                                             VERIFICATION
                1
                             Plaintiff, Peter Salas, declares under penalty of perjury that he has read the foregoing
                2
                3   Verified Complaint and is familiar with the contents thereof. The matters asserted therein are

                4   true and based on his personal knowledge, except as to those matters stated upon information and

                5   believe, and, as to those matters, he believes them to be true.
                6
                7
                8                                                           Peter Salas
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